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                                 EXHIBIT N
      Case 2:18-cv-03549-GRB-ST Document 39-14 Filed 03/01/19 Page 2 of 3 PageID #: 593
Sent:      Mon, 26 Aug 2013 14:19:47-0400
Subject:   Re: Long Island School Elections
From:      Daniel Altschuler <daniel.altschuler@maketheroadny.org>
To:        Susan Lerner <slemer@commoncause.org>

Also, to clarify: they're still using old lever machines and expect to continue next year (until those machines stop working,
think).
Daniel


On Mon, Aug 26, 2013 at 2:11 PM, Daniel Altschuler <daniel.altschuler(glmaketheroadny.onj> wrote:

  Hi Susan,

  As you may know, we're working on Long Island, and have been active in some recent school board elections.


  In one such district, Brentwood, the school district's clerk is proposing election changes. In short, because of safety
  concerns (some schools don't have a separate entrance for the voting site) and cost considerations, she is proposing
  moving the poll sites from the elementary schools (of which there are 9) to the middle schools (of which there are4).

  We're concerned that the reduction in the number of poll sites could depress voter participation in a minority-majority
  area already plagued by low turnout.

  Question for you: Do you have any recommendations regarding how school districts have effectively dealt with the type
  of safety concern they have, while not reducing voter participation? The principal concern they expressed is that,
  without a separate entrance, adults could enter the school on an election day and that there's a risk of a Sandy Hook-typ<
  situation. (That said, I'm convinced that the cost is at least an equal motivating factor here.)

  Do you know of any alternatives to changing / reducing poll sites in this type of case? If not, do you have any
  suggestions of someone who might know?

  Thanks for any information you have,

  Daniel


   Daniel Altschuler, Coordinator
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